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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                             _____________________________

UNITED STATES OF AMERICA,

               Plaintiff,                                     Case No. 1:09:CR:229
v.
                                                              HON. GORDON J. QUIST
JUSTIN WESTHUIS,

            Defendant.
_______________________________/

                                        MEMORANDUM

       Defendant Justin Westhuis has filed a motion for modification or reduction of sentence

pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table with

respect to drug quantity.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to drug quantity, and

U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective November 1, 2014.

U.S.S.G. § 1B1.10(c).

       However, the defendant is not eligible for a sentence modification because he was sentenced

as a career offender. As a career offender, the defendant's sentencing guideline range was calculated

under U.S.S.G. § 4B1.1, not under U.S.S.G. §§ 2D1.1 or 2D2.1. Therefore, Amendment 782 does

not retroactively lower the defendant's sentencing guideline range. Accordingly, Defendant Justin

Westhuis’ motion for modification of sentence pursuant to 18 U.S.C. § 3582(c)(2) and for

appointment of counsel (docket no. 181) will be denied in a separate Order.


Dated: March 6, 2015                                        /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
